UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------- x
                                                        :
 UNITED STATES OF AMERICA,                              :
                                                        :   S2 20 Cr. 330 (AJN)
                v.                                      :
                                                        :
 GHISLAINE MAXWELL,
                                                        :
                                                        :
                            Defendant.
                                                        :
                                                        :
------------------------------------------------------- x



                   GHISLAINE MAXWELL’S REPLY IN SUPPORT OF
                            HER MOTIONS IN LIMINE




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                                                                      v
       Ghislaine Maxwell hereby submits her Reply In Support of Her Motions in Limine.

   I. THIS COURT SHOULD PRECLUDE INTRODUCTION OF ALLEGED CO-
      CONSPIRATOR STATEMENTS AS A SANCTION FOR GOVERNMENT'S
      FAILURE TO COMPLY WITH THIS COURT’S SEPTEMBER 3, 2021 ORDER

       The government offers several excuses for its failure to comply with this Court’s

September 3, 2021 Order. These excuses are insufficient and should be rejected.

       A. The Court’s Order was Neither Ambiguous Nor Misread by the Defense
       First, the government suggests that Ms. Maxwell has misread the Order. We disagree.

The Court unambiguously rejected the government’s position and ruled that the government’s

expressed concern about disclosure “does not outweigh the risk of surprise to the Defendant in

this case or the need for the parties to litigate co-conspirator issues in advance of trial to ensure

the absence of delay.” Dkt. 335 at 3. To both “avoid the risk of surprise” and “litigate co-

conspirator issues in advance of trial to ensure the absence of delay, ” the Court identified two

things that were necessary from the government: First, no later than October 11, 2021, the

government was required to “disclose to the defense the identities of any unnamed co-

conspirators who allegedly participated in the conspiracies charged in the S2 indictment to whom

the government will refer at trial.” Id. Second, the Court, unambiguously and emphatically,

directed: “The Government is FURTHER ORDERED to disclose all co-conspirator hearsay

statements it intends to offer at trial no later than October 11, as consistent with this Court’s

scheduling order. Dkt. No. 297 at 1.” (emphasis in original.)

       The Court used the word “disclose” both as to the identity of the co-conspirators “to

whom the government will refer to at trial” and “all co-conspirator hearsay statements it intends

to offer at trial….” The government, in an attempt to blunt the Order, decided to interpret the

same word, “disclose” in materially distinct fashions. As to the identity of the co-conspirators,

the government disclosed (i.e., identified) three names. When it was parsing the second part of


                                                   1
the Order, however, the government defined the word “disclose” differently. Disclose, as to the

actual statements, according to the government, means “produced” at some time in the past or to

be produced in the future, perhaps as an oral statement during trial.

       Of course, the Court will tell the parties whether it meant two completely different things

when it used the same word, as argued by the government, or whether it intended for the

government to disclose the statements it intends to offer as co-conspirator statements. To avoid

delay over this issue during trial, Ms. Maxwell suggests that she cannot litigate this issue in

advance of trial without knowing what statements are being offered under Federal Rule of

Evidence 801(d)(2)(e).

       What is clear from the government’s response is not that it misunderstood the Order, but

rather, it continues to disagree with the Order.

       B. The Court Has the Authority to Require Disclosure

       Second, doubling down on its disagreement with the Court, the government claims “it is

aware of no such case” in which a court ordered the identification of anticipated co-conspirator

statements prior to trial. While the government may not be “aware” of such cases, they certainly,

and abundantly, exist.

       In United States v. Bocio, 103 F. Supp. 2d 531, 534 (N.D.N.Y. 2000), the court ordered

pretrial disclosure of statements of co-conspirators (Government “must disclose to the defendant

and make available for inspection, copying, or photographing: any relevant written or recorded

statements ..., or copies thereof, within the possession, custody, or control of the government.”).

       In United States v. Jacobs, 650 F. Supp. 2d 160, 171 (D. Conn. 2009), the court ordered

co-conspirator statements be produced in advance of trial (“In the case of a co-conspirator who

the government plans to call as a witness at trial, that time is now, and the government is directed

to produce any relevant statement to defense counsel forthwith.”)


                                                   2
        In United States v. Velez, No. 3:10CR147 JBA, 2010 WL 4929266, at *7 (D. Conn. Nov.

30, 2010), the defendant moved for disclosure of any co-conspirator statements in advance of

trial. In response, the government agreed to disclose “well in advance of trial, exactly which of

the intercepted telephone calls will be offered as full exhibits at trial and transcripts of those calls

will be provided in advance of trial.” Based on that representation the court denied the motion to

produce as moot, “without prejudice to renew if the Government fails to comply with its ongoing

disclosure obligations.” Id.

        In United States v. Smalls, No. CR 06-2403 RB, 2008 WL 11361098, at *8–9 (D.N.M.

Jan. 24, 2008), the court’s order was very detailed:

        The United States is hereby instructed to:

        file a supplemental brief identifying the summary witness; specifically identifying
        each and every coconspirator statement it intends to offer at trial as evidence against
        Defendants pursuant to Fed. R. Evid. 801(d)(2)(E); and stating how each proffered
        statement satisfies the requirements of Rule 801(d)(2)(E). Specifically, with respect
        to each alleged coconspirator statement, the United States must indicate: a) the
        identity of the coconspirator who made the alleged statement; b) the identity of the
        person or persons to whom the coconspirator statement was made; c) the identity
        of the witness who will testify at trial about the coconspirator statement; d) the
        content of the coconspirator statement; e) when the statement was made; f) how the
        statement is in the course of the alleged conspiracy; and g) how the statement is in
        furtherance of the alleged conspiracy. Additionally, the United States must identify
        the independent evidence it intends to offer in support of admission of the alleged
        coconspirator statements.

See also United States v. Brewington, No. 15-CR-00073-PAB, 2018 WL 1411274, at *3 (D.

Colo. Mar. 21, 2018) (court required the government to identify and produce all its purported

801(d)(2)(e) statements, in the hundreds; held an evidentiary pre-trial hearing about the

admissibility of those statements; and made detailed, statement by statement rulings about

admissibility, excluding some and conditionally admitting others); United States v. Bozeman,

No. 3:11-CR-129, 2012 WL 1071207, at *14 (E.D. Tenn. Mar. 29, 2012), aff'd, No. 3:11-CR-




                                                   3
129-1, 2012 WL 1565099 (E.D. Tenn. May 1, 2012) (government must disclose any statements

of co-conspirators that it intends to use at trial three weeks prior to the trial).

        There is ample legal authority for the Court to enter the Order to avoid delays and

arguments during trial about what statements are or are not within the 10-year conspiracy alleged

here and to prevent surprise and prejudice to the Defendant.

        C. There Should Be a Sanction
        Hedging its bets, the government acknowledges that it “may have misread the court’s

order” but offers no solution other than the defense is “free to litigate the admissibility of any

such statement during trial.” This was the government’s losing argument before the Order.

        District courts have broad discretion to sanction a party who violates discovery orders.

United States v. Golyansky, 291 F.3d 1245, 1249 (10th Cir. 2002). In considering a particular

remedy for a violation, the factors considered are “the reasons why disclosure was not made, the

extent of the prejudice, if any, to the opposing party, the feasibility of rectifying that prejudice by

a continuance, and any other relevant circumstances.” United States v. Lee, 834 F.3d 145, 159

(2d Cir. 2016) (quoting United States v. Pineros, 532 F.2d 868, 871 (2d Cir. 1976)). The

appropriate remedy is exclusion. Ms. Maxwell has been in jail for approximately 18 months. She

is trying not to request a continuance of the trial and her lawyers are making every effort to

review massive amounts of discovery, interview potential witness, prepare for trial, and juggle a

myriad of other responsibilities. The government offers no legitimate excuse for non-

compliance. It clearly knows what statements it will try to introduce, it just does not want to tell

anyone to avoid challenges to the statements. This is willful, not negligent or inadvertent conduct

which should not be sanctioned by the Court.




                                                    4
       D. There are Substantial Issues with the Government’s Anticipated Position

       For a statement to fall within the definition of Fed. R. Evid. 801(d)(2)(E), “a court must

find (1) that there was a conspiracy, (2) that its members included the declarant and the party

against whom the statement is offered, and (3) that the statement was made both (a) during the

course of and (b) in furtherance of the conspiracy.” United States v. Tracy, 12 F.3d 1186, 1196

(2d Cir. 1993). A cursory review of the discovery produced related to one purported co-

conspirator demonstrates the folly of proceeding as the government persists.




       The government failed to follow the Court’s Order and fails to explain why it did not

disclose the statements as ordered. Accordingly, the Court should prohibit introduction of any

alleged co-conspirator statements at trial.




                                                 5
  II. GOVERNMENT CONCEDEDLY FAILED TO GIVE NOTICE OF THE
      BASIS OR REASONING TO ADMIT ANY 404(B) EVIDENCE
          The government concedes that (i) it was aware of the December 2020 Amendments to

Rule 404(b) (Resp. at 34), (ii) those Amendments required it to give notice of the "permitted

purpose for which the prosecutor intends to offer the [404(b)] evidence and the reasoning that

supports the purpose" (id.) ("Notice"), and (iii) the October 11th "Maxwell Rule 404 Letter"

("Letter") did not identify the "permitted purpose" under Rule 404(b) for which the government

seeks (alternative) admission of the two categories of evidence, nor the "reasoning that supports

that evidence."1 The government wholly fails to explain why it could not comply with these

"relatively modest" new Notice requirements on the timeline ordered by this Court. Nowhere in

response does the government seek leave for an extension to provide the appropriate Notice out

of time nor justify its "good cause" for failure to timely comply with both the Court's Order and

the Rule. Instead, they assert that "any alleged gap in the Government's notice is remediated by

this brief." Resp. at 39-40. To quote the government's response to Ms. Maxwell's motion in

limine, "to the extent the [government] takes issue with the rule" requiring specific pre-trial

Notice under Rule 404(b), "that complaint is properly directed to the drafters of the Federal

Rules of Evidence." Resp. at 61 n.15.

          Having failed to comply with the Notice requirements of the Rule by the (extended)

Court ordered deadline of October 11, the government belatedly argues that the tendered

evidence is either direct evidence or admissible under Rule 404(b). They are wrong on both

fronts.



          1
          Under the misleading and disingenuous sub-heading (2) ("The Government has Met and
Exceeded its Notice Obligations"), the government points only to its (i) October 11 disclosure of certain
of the evidence (which gives neither a a proper "purpose" or "reasoning"), and (ii) its Response (the
required "notice is remediated by this brief").


                                                     6
       "In assessing whether a district court properly admitted other act evidence, we consider

whether (1) it was offered for a proper purpose; (2) it was relevant to a material issue in dispute;

(3) its probative value is substantially outweighed by its prejudicial effect; and (4) the trial court

gave an appropriate limiting instruction to the jury if so requested by the defendant.” United

States v. Arroyo, 600 F. App'x 11, 13 (2d Cir. 2015) (summary order) (quoting United States v.

LaFlam, 369 F.3d 153, 156 (2d Cir. 2004).                  are offered for improper purposes, i.e.,

propensity, are not relevant to any material issue in dispute and their probative value is

substantially outweighed by their prejudicial effect.

       A.                Bear No Relationship to the Charged Conspiracy, Reflect Pure
              Propensity Evidence, and Otherwise are Unduly Prejudicial


       The government's argument for admissibility of                   is breathtaking in its claims

and unsupported by admissible evidence. Without expert testimony or even bothering to

interview                         , the government contends                 represent "direct evidence"

of a conspiracy (to recruit, groom, and sexually abuse minor females or to entice, transport or

traffic them for Jeffrey Epstein's sexual pleasure) that




                      Resp. at 36.




       2
           The proffered evidence is found at GX 401-404, 409-410 and 413


                                                   7
          The government contends that                reveal "defendant's intent and motive," but

their argument is defies logic.




                                                                              This is exactly the

type of evidence forbidden by Rule 404(b). See United States v. Angelilli, 660 F.2d 23, 40–41

(2d Cir. 1981) ("While we conclude that the custom and practice evidence was admissible for the

purposes we have discussed, we agree with the defendants that Rule 404(b) barred its use to

prove that the individual defendants acted in conformity with the custom and practice. …").

          Even if the Court overlooks the government's failure to provide notice,

absence of relevance to the charged conspiracy, and the government's failure to set forth a non-

propensity ground for admissibility,              should also be excluded under Rules 401 and

403, as they do not tend to make any fact of consequence more or less probable, and their

probative value is substantially outweighed by the danger of unfair prejudice and confusing the

issues.




                                                  8
9
                                                                                     Ms.

Maxwell strongly disputes that suggestion. Notably, as the Court can tell, the government did

not offer any evidence (or any offer of proof in their Response) that this document was in fact




                                                10
amendment to, and an impermissible variance of, the Indictment. As this Court previously has

ruled:

         "To prevail on a constructive amendment claim, a defendant must demonstrate that
         ‘the terms of [an] indictment are in effect altered by the presentation of evidence
         and jury instructions which so modify essential elements of the offense charged that
         there is a substantial likelihood that the defendant may have been convicted of an
         offense other than that charged in the indictment.” United States v. D’Amelio, 683
         F.3d 412, 416 (2d Cir. 2012) (quoting United States v. Mollica, 849 F.2d 723, 729
         (2d Cir. 1988)). Because the doctrine of constructive amendment protects a
         defendant’s Grand Jury Clause rights, a constructive amendment constitutes a “per
         se violation” of the defendant’s constitutional rights—i.e. there is no requirement
         that a defendant make a specific showing of prejudice. Id. at 417. In contrast to a
         constructive amendment, “[a] variance occurs when the charging terms of the
         indictment are left unaltered, but the evidence at trial proves facts materially
         different from those alleged in the indictment.” Id. (quoting United States v.
         Salmonese, 352 F.3d 608, 621 (2d Cir. 2003)).

United States v. Gross, 15-cr-769 (AJN), 2017 WL 4685111, at *20 (S.D.N.Y. Oct. 18, 2017).

         As this Court then recognized, the Second Circuit has consistently relied on the same

start and end dates of a conspiracy to find that differing trial proof did not affect a constructive

amendment or variance. See id. ("The indictment and the evidence at trial contained the same

starting and ending dates of the conspiracy…") (quoting United States v. Rigas, 490 F.3d 208,

229 (2d. Cir. 2007)); see also United States v. Dupre, 462 F.3d 131, 141 (2d Cir. 2006) ("The

starting and ending dates of the conspiracy noted in the indictment correspond to the conspiracy

proven at trial…"). Conversely, the substantial quantity of testimony – for the post-conspiracy

time period of

         , who never met any of the four accusers as far as can be gleaned, and the documents she

intends to authenticate, run a substantial risk that the government's proof at trial will not be the

same core evidence charged in the Indictment because it will be based on evidence that post-

dates the events charged in the Indictment.




                                                  14
       C. Ms. Maxwell reiterates her request to defer briefing and ruling on the
          admissibility of                                    and exhibits for two
          weeks.

       For the reasons already detailed, the complexity of the issues and the fact that

         recently disclosed testimony appears to be of utmost centrality to the government's

case, Ms. Maxwell repeats and reiterates her request that she be afforded additional time to

submit a comprehensive motion in limine concerning the introduction of this testimony and

exhibits as supposed direct evidence of the charged conspiracy. In that there remains a full

month before opening statements, Ms. Maxwell's fundamental rights to present a defense, to

have the effective assistance of counsel, and to a right to confront witnesses and subpoena

witnesses to testify in her defense all will be preserved by a small delay on this issue.

 III. THIS COURT SHOULD EXCLUDE LISA ROCCHIO'S TESTIMONY UNDER
      FEDERAL RULE OF EVIDENCE 702 AND DAUBERT V. MERRELL DOW
      PHARMACEUTICALS, INC., 509 U.S. 579 (1993) AND GRANT A DAUBERT
      HEARING

       A. This Court should reject the government’s arguments to the extent that they are
          based on newly disclosed material, which this Court ordered the government to
          produce six months ago.

       Recognizing that Rocchio’s proposed testimony is on shaky ground (to say the least), the

government belatedly tries to shore up its case and hoist up its expert witness. Two days ago, and

six months after the court-imposed deadline for expert disclosures, the government first

disclosed to defense counsel about 300 pages of material on which Rocchio apparently relied in

reaching her conclusions. This Court should reject the government’s untimely effort to save

Rocchio’s testimony from exclusion. See United States v. Lewis, 818 F. App’x 74, 79 (2d Cir.

2020) (unpublished) (affirming exclusion of defendant’s proffered expert evidence “that did not

adhere to the discovery schedule”).




                                                 15
        In any case, the newly discovered material doesn’t help the government’s cause. Exhibit

A (literally) to the government’s response is a journal article describing “grooming” as a

“construct.” Resp, Ex. A, Natalie Bennett & William O’Donohue, The Construct of Grooming in

Child Sexual Abuse, 23 J. Child Sexual Abuse 957, 974 (2014). (In fact, Ms. Maxwell cited this

article in her motion.) Far from supporting Rocchio’s conclusions, the article proves their

unreliability:

        There have been claims that some child molesters engage in a “seduction stage”
        prior to committing abuse. These behaviors, commonly known as “grooming,” are
        understood as methods child molesters use to gain access to and prepare future
        victims to be compliant with abuse. However, there is a lack of consensus regarding
        exactly what this process entails and how it is clearly distinguished from normal
        adult–child interactions. . . . Furthermore, there are no methods of known
        psychometrics to validly assess grooming.

Gov’t Resp., Ex. A, p 2 (emphasis added). The article concludes:

        Currently there is no consensus regarding how to define grooming. In addition,
        there is no valid method to assess whether grooming has occurred or is occurring.
        The field possesses an insufficient amount of knowledge about key issues such as
        the interrater reliability of these judgments or the error rates of these judgments
        including the frequency of false negatives or false positives. Thus currently it
        appears that grooming is not a construct that ought to be used in forensic settings
        as it does not meet some of the criteria in the Daubert standard. . . . Right now it
        does not appear to be the case that there are “reliable principles and methods” to
        define and detect grooming.

Id. at 19 (emphasis added).

        Because the government cannot justify admission of Rocchio’s testimony based on its

prejudicially late disclosures, and because those disclosures don’t support Rocchio’s views, and

underscore that “grooming” is not a scientific principle based on psychometric testing, this Court

should preclude Rocchio from testifying. And as explained below, the government’s other

defenses of Rocchio fall far short of what is required by Rules 401, 402, 403, 404, 702, and 704.




                                                16
       B. Rocchio’s proposed testimony is inadmissible.

       According to the government, Ms. Maxwell “does not contest that Dr. Rocchio is a

qualified expert.” Resp. at 9. To the degree that Dr. Rocchio has the credentials of a potential

expert, the government is right.

       But saying that Rocchio is a “qualified expert” is not enough. The government must

identify what Rocchio is an expert in. Fed. R. Evid. 702; Fed. R. Crim. 16. As Ms. Maxwell

pointed out in her motion, the government hasn’t done that. Mot. at 2.

       What’s more, even if Rocchio is a “qualified expert” in something, she is not a “qualified

expert” in everything. (For example, the government agrees that she is not an expert in the

human brain or memory generally. Resp. at 30 n.7.) And as even the government admits,

Rocchio has no experience or expertise in diagnosing, evaluating, or treating alleged perpetrators

of sexual abuse. Resp. at 19, 23, 26. She cannot therefore speak to the psychology of alleged

perpetrators and their so-called “grooming techniques.”

       The government attempts a two-step to get around this problem. “By virtue of experience

treating victims,” says the government, “Dr. Rocchio is necessarily informed about perpetrators’

actions.” Resp. at 19.

       But how does Rocchio know her patients were victims of sexual abuse? Because her

patients told her so, and Rocchio assumes they are telling the truth. Again, Rocchio’s opinions

are based on her treatment of a self-selected, unrepresentative group of individuals she assumes

are telling the truth and are therapeutic consumers in a financial relationship with her.

       The government has no response to this, other than to say that Rocchio and other

“[c]linical psychologists are not so credulous.” Resp. at 16. If this were right, though, one would

expect the government to explain how clinical psychologists ensure their patients are telling the

truth — in other words, how clinical psychologists like Rocchio test and verify their opinions.


                                                 17
        But that’s not what the government does. Instead, right after claiming that “[c]linical

psychologists are not so credulous,” the government essentially says to Ms. Maxwell, “How dare

you?” In the government’s words, “The Court should reject the defendant’s speculative claim

that Dr. Rocchio has been misled by hundreds of patients who sought professional treatment for

traumatic events that did not occur.” Resp. at 16.

        In this way, and in one breath, the government attests that Rocchio is “not so credulous.”

But in the next breath, the government asks this Court to assume that Rocchio “has [not] been

misled by hundreds of patients who sought professional treatment for traumatic events that did

not occur.” In other words, the government asks this Court to assume Rocchio’s patients are

telling the truth, just as Rocchio does. Apparently Rocchio is “so credulous.” But there is no

reason this Court should be.

        The government next notes that the term “grooming-by-proxy” “appears nowhere in the

Government’s expert notice.” Resp. at 26. That’s hardly surprising, though, because there is no

reliable way to assess or analyze if one individual “grooming” a minor to facilitate abuse by

someone else, even though that is exactly what the government says Ms. Maxwell did.

        As detailed today is Ms. Maxwell’s Rule 412 motion, the Indictment alleges “grooming”

or “normalization” of sexual behavior by Ms. Maxwell over a dozen times. The government does

not, however, contend that Ms. Maxwell “groomed” anyone for her own benefit; instead, the

government contends that she “groomed” them for Epstein’s benefit. But as the government does

not dispute, there is nothing—not a journal article, and not a study, nothing—to validate

Rocchio’s opinions on grooming-by-proxy (even if she doesn’t use that phrase).6




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          The articles and cases the government cites involve alleged grooming behavior by the preparator
of the abuse, not alleged grooming behavior by a third party.


                                                   18
       Recognizing that Rocchio’s opinions are thus unreliable, the government says: “If the

victim experienced attachment and grooming, it makes no analytical difference whether the

perpetrator intends to engage in sexual contact with the victim or, instead, is preparing the victim

for abuse by a third party.” Resp. at 26.

       Hardly. It makes all the difference in the world because Ms. Maxwell is on trial, not Mr.

Epstein. The logic (such as it is) of grooming evidence is that the perpetrator normalizes sexual

behavior to facilitate his later abuse of the victim. But because Ms. Maxwell did not abuse

anyone, there is no basis to conclude that anything she did was “grooming.” The government

thus intends to have Rocchio characterize innocent conduct by Ms. Maxwell as something more

nefarious, thereby further blurring the line that experts are already unable to draw reliably. Resp.

Ex. A, p 2 (“There is a lack of consensus regarding exactly what [the grooming] process entails

and how it is clearly distinguished from normal adult–child interactions.”).

       The government’s additional arguments fail.

           •   A psychologist who treats alleged victims of abuse but does not treat alleged

               perpetrators is nothing like a urologist who treats urology patients. Resp. at 11

               (citing Bosco v. United States, No. 14 CIV. 3525 (JFK), 2016 WL 5376205

               (S.D.N.Y. Sept. 26, 2016)). Rocchio assumes her patients are telling the truth, and

               she never hears or credits the other side of the story. The urologist, by contrast,

               has scientific means to verify what her patients tell her, and there isn’t another

               person whose side of the story she needs to hear.

           •   The government repeatedly says that “courts have frequently admitted testimony

               about the psychological relationship between victims of sexual abuse and their

               perpetrators.” Resp. at 13. See also id. at 7-8. But those cases do not address the




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    situation here, in which the alleged “groomer” was not the person who perpetrated

    the alleged abuse.

•   Even where the “groomer” and “perpetrator” are the same person, courts have

    recognized the unreliability of grooming testimony. United States v. Gonyer, No.

    1:12-CR-00021-JAW, 2012 WL 3043020, at *2-3 (D. Me. July 24, 2012); United

    States v. Raymond, 700 F. Supp. 2d 142, 146-47 (D. Me. 2010); United States v.

    Schneider, No. CRIM.A. 10-29, 2010 WL 3734055, at *4 (E.D. Pa. Sept. 22,

    2010); see also United States v. Raniere, No. 18-CR-2041-NGG-VMS, 2019 WL

    2212639, at *7 (E.D.N.Y. May 22, 2019); United States v. Burns, No. 07 CR 556,

    2009 WL 3617448, at *5 (N.D. Ill. Oct. 27, 2009) (criticizing the “grooming

    theory” in the context of a sentencing guidelines calculation).

•   The government tries to distinguish United States v. Raymond by saying that the

    expert’s own book in that case “disavow[ed] [its] reliability . . . for legal use.”

    Resp. at 14. But that is exactly the situation here, because the primary article on

    which the government relies—Exhibit A to its response—flatly says “that

    grooming is not a construct that ought to be used in forensic settings as it does not

    meet some of the criteria in the Daubert standard.” Resp., Ex. A, p 19.

•   The government says Rocchio’s opinions are not “anecdotal.” But that’s not right

    either, as her endorsement makes clear: Rocchio’s opinions are based “on her

    education and training on psychological trauma, traumatic stress, interpersonal

    violence, and sexual abuse [and her] extensive clinical experience treating

    individuals who suffered sexual abuse and trauma in childhood and adolescence,




                                      20
    as well as [her] experience conducting forensic psychological evaluations of

    people who have experienced sexual abuse and trauma.” Mot. Ex. 1, p 2.

•   The government tries to disclaim the importance of error rates. Resp. at 15-17.

    But it’s not just that Rocchio cannot identify an error rate, it’s that her implicit

    conclusion is that she doesn’t have an error rate. That is, all her patients are

    telling the truth when they say they were groomed, so any evidence that matches

    what her patients have told her is therefore evidence of grooming.

•   But even if the error-rate discussion were misplaced, that doesn’t mean Rocchio’s

    opinions are reliable. As a “qualitative” matter, and as the government’s own

    Exhibit A concedes, there are no “‘reliable principles and methods’ to define and

    detect grooming.” Govt. Resp., Ex. A, p 19 (quoting Fed. R. Evid. 702).

•   The government apparently expects that, “somehow, a lay jury without guidance

    [will] apply [Rocchio’s] analyses reliably to the facts of a case in determining

    guilt.” See Raymond, 700 F. Supp. 2d at 150 (rejecting argument that a jury could

    do just that). This Court should not, as the government request, simply punt the

    matter to the jury. Resp. at 17-18. The Court is the gatekeeper. It must ensure the

    evidence is reliable and relevant. If it’s not both, it has no place in a criminal jury

    trial, because it will “radically simplify” an otherwise complex case, Burns, 2009

    WL 3617448, at *5, and it will, as the United States Supreme Court has

    cautioned, prejudicially mislead the jury, Daubert v. Merrell Dow Pharms., Inc.,

    509 U.S. 579, 595 (1993) (“Expert evidence can be both powerful and quite

    misleading because of the difficulty in evaluating it.”).




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•   The government denies Ms. Maxwell’s argument that “a lay jury will be unable to

    apply Dr. Rocchio’s analyses to the facts of this case” because “[t]hat is not how

    Rule 702 works.” Resp. at 20. Responds the government: “That is precisely how

    Rule 702 works in cases where experts testify about general principles, which the

    Rule contemplates.” Id. at 21. Surely that is not right when, as here, the “general

    principles” are unreliable. Fed. R. Evid. 702, Advisory Committee Note (if expert

    testifies to general principles but not apply them, “the testimony [must] be

    reliable”). See also Mot. at 10; Raymond, 700 F. Supp. 2d at 150 n.12 (expert

    testimony about general principles is helpful only when it “describe[es] widely

    recognized and highly predictable and verifiable phenomena”).

•   The government attempts to fault Ms. Maxwell for making “no argument that the

    minor victims in this case are distinctive in some way such that general principles

    of psychology may diverge as to them.” Resp. at 18. This argument flips the

    proper analysis on its head. It’s the government’s burden to prove reliability. E.g.,

    United States v. Williams, 506 F.3d 151, 160 (2d Cir. 2007). It’s not Ms.

    Maxwell’s burden to prove unreliability (though if it were her burden, she would

    have met it).

•   The government says that “the causal connection between . . . psychological

    problems and child sexual abuse is outside the experience of the average juror”

    and is relevant to the alleged victims’ credibility. Resp. at 24. It’s not, and any

    minor probative value the evidence has is substantially outweighed by the danger

    of unfair prejudice. Fed. R. Evid. 401, 403. And as explained in the Rule 412

    motion today, if Rocchio offers testimony and the government presents argument




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                 along these lines, that will open the door to other sexual behavior evidence. That

                 door can remain at least partially closed if Rocchio is not permitted to offer her

                 irrelevant and unfairly prejudicial testimony.

             •   The government still hasn’t explained how it helps the jury to be told that a victim

                 of sexual abuse might make an immediate disclosure, or she might make an

                 incremental disclosure, or she might make a delayed disclosure. Resp. at 27-30.

                 And when the government says, “[s]exual abuse also impacts the way memory is

                 encoded,” that opinion is far outside Rocchio’s expertise because the parties agree

                 that she is not an expert in “the human brain or memory generally.” Resp. at 30

                 n.7.

          C. At a minimum, this Court should hold a Daubert hearing.

          There is ample reason for this Court to exclude Rocchio’s testimony outright. At the very

least, Ms. Maxwell is entitled to a Daubert hearing. The government implicitly concedes as

much. In a footnote, the government acknowledges the decision in United States v. Raniere, in

which Judge Garaufis ordered a Daubert hearing on the government’s proposed expert testimony

on grooming. 2019 WL 2212639, at *7-8. In that case, however, the government withdrew its

endorsement rather than submit to an Daubert hearing. Resp. at 19 n.3.

          Judge Garaufis reasoned that even if other courts in other cases had admitted testimony

about grooming, “that [did] not make Dr. Hughes’s opinion about grooming techniques reliable

under the Daubert standard,” if only because “her extensive academic and clinical experience

appears focused on victims of sexual abuse, not perpetrators.” See id. at *7. The same is true

here, particularly because Rocchio has no experience in, and there is no authority supporting her

opinions on, grooming-by-proxy. Quite the contrary. The government’s late-breaking disclosure

states:


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        Thus currently it appears that grooming is not a construct that ought to be used in
        forensic settings as it does not meet some of the criteria in the Daubert standard. .
        . . Right now it does not appear to be the case that there are “reliable principles
        and methods” to define and detect grooming.

Id. at 19 (emphasis added).

        At a minimum, therefore, this Court should hold a Daubert hearing.

  IV. THE COURT SHOULD EXCLUDE EVIDENCE RELATED


        The government’s arguments in favor of admitting evidence related

                         as direct evidence of the charged conspiracies all but concede that the

evidence is more appropriately considered under Rule 404(b). In an effort to bolster their

position, the government makes the sweeping assertion that as long as                            was

under the age of 18, her evidence is admissible as direct evidence of the conspiracy. That is a

fundamentally incorrect statement of the law and should be rejected. The government’s

arguments for admitting                         evidence under Rule 404(b) and for denying the

defense’s requested limiting instruction are similarly baseless. The Court should therefore

exclude evidence related to                       or, if it is admitted, give the jury the requested

limiting instruction.7

        The government advances four principal arguments for why evidence related to

            should be admitted as direct evidence of the charged conspiracies: (1) her testimony

allegedly shows a “pattern” of how Epstein and Ms. Maxwell sexually abused young women and

establishes Ms. Maxwell’s “intent” to participate in the charged conspiracies (Resp. at 45-46),

(2) her allegations are included in the S2 Indictment and are therefore not covered by Rule




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         As it pertains to                  and the other accusers, the defense will be submitting
proposed jury instructions and special verdict findings.


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404(b) (id. at 46-47), (3) her evidence is “intrinsic” proof of the charged conspiracies and

necessary to “complete the story” of the charged offenses (id. at 47-49), and (4)

          was under the age of 18, the age of consent under federal law, when the alleged sexual

abuse took place, and that is “all that is required for evidence relating to the defendant’s

exploitation of Minor Victim-3 to be direct evidence of the charged offenses” (id. at 50). The

first is an argument for admission of this evidence under Rule 404(b), not as direct evidence of

the conspiracy. The second simply begs the question and assumes that the government can

circumvent Rule 404(b) by alleging “other act” evidence in the indictment. The third overlooks

the numerous precedents in this Circuit finding that evidence of criminal offenses that are

separate and distinct from the charged offenses are not admissible as direct evidence of a

conspiracy. And the fourth completely misstates the law. These arguments should be rejected.

       First, the government argues that                       evidence is admissible as direct

evidence of the charged conspiracies because it is relevant to show the “pattern” of abuse—

including “grooming” the accusers, encouraging them to give massages to Epstein, and asking

them to recruit others—and her “intent” to participate in the charged conspiracies. (Id. at 45-46).

But “pattern” is just another word for “modus operandi,” which along with “intent” are bases for

admission under Rule 404(b), not as direct evidence of the conspiracies. See Fed. R. Evid.

404(b) (“other act” evidence may be admissible to prove “motive, opportunity, intent,

preparation, plan, knowledge, identity, absence of mistake, or lack of accident) (emphasis

added); United States v. Walia, No. 14–CR–213 (MKB), 2014 WL 3734522, at *13 (S.D.N.Y.

Jul. 25, 2014) (Rule 404(b) permits “other act” evidence to be admitted to prove “modus

operandi”).




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       The very case the government cites in support of their position, United States v. Curley,

639 F.3d 50 (2d Cir. 2011), affirmed the district court’s decision to admit “other act” evidence of

prior spousal abuse to prove “intent” and “pattern” under Rule 404(b) “with an appropriate

instruction on this evidence’s limited purpose,” not as direct evidence of the conspiracy. See

Curley, 639 F.3d at 59 (citing United States v. Von Foelkel, 136 F.3d 339, 340-41 (2d Cir. 1998)

(per curiam) (affirming district court’s decision to admit evidence of prior domestic violence to

prove defendant’s intent under Rule 404(b)). Indeed, the evidence could not have been admitted

as direct evidence of a conspiracy because Curley was not charged with a conspiracy. See

United States v. Curley, No. S1 08 Cr. 404 (SCR), 2009 WL 10688209, at *1 (S.D.N.Y. Jul. 15,

2009) (defendant was convicted of two counts of stalking and one count of interstate violation of

a protection order). Curley therefore supports the defense’s position that the admissibility of

                evidence must be evaluated under Rule 404(b).

       Second, the government does not confront the defense’s point that simply including

“other act” evidence in the indictment does not necessarily mean it is direct evidence of the

conspiracy. See Mot. at 9-10. Instead, the government engages in circular reasoning by

effectively arguing that (i) allegations in an indictment are not 404(b) evidence, (ii)

            allegations are in the indictment, (iii) therefore they are not 404(b) evidence. See

Resp. at 46-47. But as the defense pointed out in its Motion, “other acts” are only admissible as

evidence of a conspiracy “as long as they are within the scope of the conspiracy.” United States

v. Cummings, 60 F. Supp. 3d 434, 437 (S.D.N.Y. 2014), vacated on other grounds 858 F.3d 763

(2d Cir. 2017) (quoting United States v. Bagaric, 706 F.2d 42, 64 (2d Cir. 1983)). The

government has not explained why                         evidence provides any proof that Ms.

Maxwell “furthered” an alleged conspiracy to cause minors (she did not) to travel (she did not)




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for the purpose of engaging in unlawful sexual activity (it was not). Moreover, allowing the

government to circumvent Rule 404(b) by charging “other act” evidence in the Indictment would

swallow the rule and allow the jury to broadly consider evidence that should only be considered

for a limited purpose and with an appropriate limiting instruction regarding propensity. The

Court should not allow this.

       Third, the government claims that                        evidence can be admitted as

intrinsic proof of the charged conspiracies to show Ms. Maxwell's (1) “relationship with Epstein,

including her willingness to procure teenagers to give Epstein massages,” (2) “knowledge of

both the sexual nature of those massages and the need to procure additional victims,” and

(3) “willingness to transport minors to further their abuse.” Resp. at 47. The government further

argues that                     evidence is necessary to “complete the story” of the charged

offenses. Id. at 48-49. In its Motion, the defense cited numerous cases in this Circuit holding

that evidence of other conduct involving alleged co-conspirators—even conduct that was similar

to the charged offenses—was not admissible as intrinsic proof of the conspiracies if the other

conduct was separate and distinct from the charged offenses. See Mot. at 9 (citing cases). The

government concedes that these cases so hold and points out that these cases admitted some of

the proffered evidence under Rule 404(b). Resp. at 48 n.11. This just proves the point; the

admissibility of                     evidence should be evaluated under Rule 404(b).

       Fourth, the government asserts that the defense “misunderstands” the law and that the

government simply needs to prove that Ms. Maxwell “took steps to provide Jeffrey Epstein with

access to girls under the age of 18, knowing that Epstein intended to have sexual contact with

those girls.” Id. at 50 (emphasis added). In the government’s view, it is totally irrelevant that




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                                                                . See id. at 49-50. According to

the government, “all that is required” for                    evidence to be admissible as direct

evidence of the charged conspiracies is that she was under the age of 18, the age of consent

under U.S. federal law, and that Ms. Maxwell knew that Epstein intended to engage in sexual

contact with her. See id.

       It is the government, not the defense, that apparently does not understand the law. The

Mann Act conspiracies charged in the S2 Indictment each require proof that Ms. Maxwell acted

with the intent that the alleged victim would “engage in sexual activity for which a person can be

charged with a criminal offense.” S2 Ind. ¶¶ 12 (citing 18 U.S.C. § 2422), 18 (citing 18 U.S.C. §

2423(a)). That element incorporates offenses under state law. See United States v. Lincoln, No.

19-CR-6047 (CJS), 2019 WL 719822, at *4 (W.D.N.Y. Dec. 23, 2019) (collecting § 2422 cases);

United States v. Vickers, 708 F. App’x 732, 735 (2d Cir. 2017) (summary order) (criminal sexual

activity under § 2423 includes crimes “under federal, state, or foreign law”). Indeed, the Mann

Act conspiracies in the S2 Indictment charge a violation of a New York State misdemeanor as

the “sexual activity for which a person can be charged with a criminal offense.” S2 Ind. ¶¶ 13b,

19b (citing N.Y. Penal Law § 130.55). Section 130.55 prohibits “subject[ing] another person to

sexual contact without the latter’s consent.” N.Y. Penal Law § 130.55. To be guilty of Section

130.55 based on the victim’s incapacity to consent due to age, the victim must be under the age

of 17. Id. § 130.05(3)(a). The government itself acknowledged this in its draft proposed jury

instructions, as well as the fact that Ms. Maxwell cannot be convicted of the Mann Act

conspiracies unless she knew that the alleged victim was under 17. See Gov’t Proposed Jury

Instructions (“[I]n order to find that the intended acts were nonconsensual solely because of the




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victim’s age, you must find that the defendant knew that the victim was less than seventeen years

old.”) (emphasis added).

          It is unclear whether the government is now claiming that to admit

evidence as proof of the Mann Act conspiracies, it only needs to prove that

was under the age of 18 at the time of the alleged abuse and that Ms. Maxwell did not need to

know anything about                         age, or that Ms. Maxwell only needed to know that

                was under the age of 18. Either one is a misstatement of the law. For “sexual

activity” to be “criminal,” it must be illegal under the laws of the jurisdiction where the sex acts

allegedly took place. If those crimes are based on lack of consent due to age, it is only illegal if

the alleged victim is under the age of consent in that jurisdiction. And according to the

government’s own proposed jury instructions, Ms. Maxwell can only be found guilty of the

Mann Act conspiracies if she knew                        (and the other alleged victims) were under

the age of consent in the particular jurisdictions where the sex acts allegedly took place. Because

                    was, at all times, over the age of consent in the relevant jurisdictions, her

evidence is not within the scope of the charged conspiracies and is therefore not admissible as

direct evidence. At the very least, because it is not “manifestly clear” that

evidence is proof of the charged conspiracies, “the proper course is to proceed under Rule

404(b).” United States v. Townsend, No. S1 06 CR. 34 (JFK), 2007 WL 1288597, at *1

(S.D.N.Y. May 1, 2007) (citing United States v. Nektalov, 325 F. Supp. 2d 367, 372 (S.D.N.Y.

2004)).

                             evidence should also be excluded under Rule 404(b) and Rule 403.

As argued in our initial Motion, evidence that Ms. Maxwell allegedly encouraged an adult to

engage in legal sexual activity is not, in any way, evidence of her intent to facilitate Epstein’s




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alleged scheme to cause minors to travel to engage in illegal sex acts, or her knowledge of the

same. See Mot. at 11. Nor is the evidence of alleged “grooming” sufficiently unique to qualify

as proof of “modus operandi.” See id. at 12. Furthermore, there is a strong likelihood that the

jury will assume that Epstein’s alleged sex acts with                      were illegal and will

misapply that evidence in evaluating Ms. Maxwell’s guilt or innocence to the charged Mann Act

conspiracies. Her evidence should therefore be excluded under Rule 403. See id. at 12-13.

       If the Court decides to admit                        evidence, it should preclude the

government and                      from referring to her as a “minor” or asserting that she was a

“minor” at the time of the alleged sex acts, (2) preclude the government and

from representing that she was “sexually abused” by Jeffrey Epstein, and (3) give the jury the

appropriate limiting instruction the defense has requested. See Mot. at 14-15.

       The government argues that the term “minor” is appropriate because

was, for a brief time, below the age of 18, which is the age of consent under federal law. Resp.

at 52-53. Although the government would like to believe that U.S. federal law is the only law

that matters, even as to acts that allegedly took place in a foreign country, that is not the case.

The Court should not permit                       to be referred to as a “minor” because she was not

a “minor” under the laws of the relevant jurisdiction when any of the alleged sex acts took place.

It would not only be inaccurate to call her a “minor,” but it would also mislead the jury to believe

that the acts that allegedly took place in the U.K. were “criminal sexual activity” when they were

not. The same is true for the phrase “sexual abuse,” which connotes criminal activity. See Mot.

at 14-15 (citing Esquivel-Quintana v. Sessions, 137 S. Ct. 1562, 1569 (2017)).

       Finally, the government opposes the defense’s requested jury instruction regarding the

age of consent under U.K. law on the grounds that it is “irrelevant” and would “confuse the




                                                  30
jury.” Resp. at 53-54. Apparently, the government believes the jury would be “confused” if the

Court told the jurors what the law actually is so that they do not improperly assume that

            testimony is being offered as proof of “criminal sexual activity” and apply it

incorrectly to convict Ms. Maxwell of the Mann Act conspiracies. The jurors would not be

“confused”; they would be educated on how to properly evaluate                          evidence.

The government’s objection is non-sensical. But not as non-sensical as the government’s final

proclamation:

       The sexual activity involving Minor Victim-3 can be considered criminal for
       purposes of the crimes charged in the Indictment, because it is probative proof of
       the defendant’s guilt of those crimes. The instruction the defense proposes, in
       contrast, creates serious risk that the jury will think the Court is telling them that
       the conduct is lawful and therefore irrelevant to the case.

Id. at 54. A better example of circular reasoning you could not find –                          sex

acts with Epstein are “criminal” because they are “proof of the defendant’s guilt of those

crimes”? No. And the “risk that the jury will think that … the conduct is lawful? It was lawful.

Whatever misgivings                      may now have about those alleged sex acts, and whether

she now views those incidents as “sexual abuse,” there was nothing illegal about them.

       And that is precisely the point. If she is permitted,                   will testify about

feeling sexually abused by Epstein and the jury will assume that the sex acts were illegal. Unless

the Court instructs the jury that the sex acts were not illegal under U.K. law, and they cannot be

considered as “criminal sexual conduct” in evaluating the elements of the Mann Act

conspiracies, there is a substantial risk that the jury will misapply her evidence and improperly

convict Ms. Maxwell of those counts. The government has agreed to do this in similar cases and

it is appropriate to do so here. See Vickers, 708 F. App’x at 735-36 (government sought and

received jury instructions explaining the applicable criminal laws of the relevant jurisdictions

and jury returned a special verdict form finding “that the defendant intended to engage in sexual


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activity for which the defendant could be charged with specific New Jersey, Pennsylvania, New

York, and Canadian criminal offenses” (emphasis added)). Accordingly, the Court should give

the jury the defense’s requested limiting instruction.8

   V. THE GOVERNMENT CONCEDES THAT IT WILL NOT OFFER EVIDENCE
      OF MS. MAXWELL’S ALLEGED “FLIGHT”

        The government has conceded that it will not elicit any evidence or argue to the jury that

Ms. Maxwell “was hiding from, evading, or fleeing from law enforcement between Epstein’s

arrest and her own.” Resp. at 81-82.

 VI. THE GOVERNMENT CONCEDES THAT IT WILL NOT OFFER
     EVIDENCE OF MS. MAXWELL’S ALLEGED FALSE STATEMENTS
     AND AGREES TO MS. MAXWELL’S PROPOSED REDACTIONS
        The government has also conceded that it will not elicit any evidence concerning Ms.

Maxwell’s alleged false statements in her 2016 depositions and agrees to the defense’s request to

redact the perjury counts and related allegations from the S2 Indictment. Resp. at 82.

VII. THE COURT SHOULD HOLD A PRE-TRIAL EVIDENTIARY HEARING
     ON MS. MAXWELL’S MOTION TO SUPPRESS IDENTIFICATION.
        From approximately




        8
         The defense also agrees with the government that the Court should instruct the jury that it
cannot convict Ms. Maxwell of the charged conspiracies based solely on                      evidence.
See Resp. at 50 n.12.


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       It was not until 2020, after making a multi-million dollar claim to the Epstein Victim

Compensation fund, that the SDNY interviewed                     and then in 2021 showed her

photos -- the majority of which were men or women much younger than Ms. Maxwell. Only two

of the photos look anything like Ms. Maxwell and                   thought one was Ms. Maxwell

and the other might be Ms. Maxwell. Of course, no one thought to ask                  if her

lawyers had shown her photos of Ms. Maxwell as part of her multi-million-dollar request or if

she had seen any of the many photographs displayed on the internet of Ms. Maxwell, including

those published in relation to the first indictment by Acting U.S. Attorney Strauss’s Rule 23.1-

violative press conference, or any of the millions of photographs published in the wake of the

Indictment. The photo array process was not recorded, and we do not know why certain photos

in the array were selected or by whom. No one documented how long the photo array was

viewed or any other relevant indicia of reliability.

       The claim that the show-up was merely a “confirmatory identification” of someone that

               had “known and identified by name over the years” is completely unsupported by

the evidence. Tellingly, the government appends no supporting exhibit or declaration in support

of this conclusory statement because it cannot. The truth of the matter is that                had

never identified Ms. Maxwell as someone who abused her and never claimed to have seen Ms.

Maxwell prior to 2020 when it became economically prudent for her to do so.




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        The facts about                   interaction with Ms. Maxwell are hotly disputed. Ms.

Maxwell rejects the government’s unsupported conclusory statements about when and if she

interacted with Ms. Maxwell and her ability to do so absent suggestion.

        When the prosecution offers testimony from an eyewitness to identify the defendant as a

perpetrator of the offense, fundamental fairness requires that that identification testimony be

reliable. Raheem v. Kelly, 257 F.3d 122, 133 (2d Cir. 2001). The court must first determine

whether the pretrial identification procedures unduly and unnecessarily suggested that the

defendant was the perpetrator. If the court finds, however, that the procedures were suggestive, it

must then determine whether the identification was nonetheless independently reliable. Id.

        The critical question here, ignored by the government, is not whether                     knew

that she was accusing Ms. Maxwell in 2020 (she undoubtably was) but whether she could

identify Ms. Maxwell as the person she was now claiming abused her. Of the pictures selected

here,                had a high probability of picking Ms. Maxwell -- even then, she was

tentative about one person who was not Ms. Maxwell. The show up was neither confirmatory nor

fair.

        The protection against unduly suggestive procedures encompass not only the right to

avoid improper police methods that suggest the initial identification, but as well the right to

avoid having suggestive methods transform a selection that was only tentative into one that is

positively certain. Solomon v. Smith, 645 F.2d 1179, 1185 (2d Cir. 1981).

        Ms. Maxwell has met her burden of demonstrating the show up was unduly suggestive.

Under these circumstances the Court should next consider the well know “five factors”: (1) the

witness's opportunity to observe the criminal at the time of the crime, (2) the degree of the

witness's attention at that time, (3) the accuracy of the witness's initial description of the




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criminal, (4) the certainty with which the witness first identified the suspect, and (5) the time

lapse between the crime and the identification. Id. at 1186. Each of these factors weighs heavily

in Ms. Maxwell’s favor: as to 1-3, until 2020,                  had never claimed Ms. Maxwell

participated in any abuse and never identified Ms. Maxwell -- indeed, she had never before been

asked to identify Ms. Maxwell. Concerning number 4,                     was less than certain, as

demonstrated by her selection of someone else who may have been “Ms. Maxwell.” Factor 5

also weighs in Ms. Maxwell’s favor, as the delay was 17 years.

       Accordingly, Ms. Maxwell requests that the Court hold an evidentiary hearing on this

motion and find that the show up was unduly suggestive and suppress any identification of Ms.

Maxwell, before or during trial.

VIII. GOVERNMENT AGREES NOT TO ELICIT LAW ENFORCEMENT
      OPINION TESTIMONY
       The government agrees that it has not noticed any law enforcement officers as experts

and, as to their fact police officers, "will not elicit expert testimony from them." Resp. at 82-83.

Overlooking the long list of potential law enforcement opinion testimony that has been

disallowed by Courts in the past (see Mot. at 2-5), the government then goes on to make the

confusing claim that the defense should have to "provide expert" testimony from the

government's own case agents if it wants to call them as witnesses. Resp. at 83 n.24.

       The defense has no intention of eliciting opinion testimony from the agents when they

testify. As the motion makes clear, the defense fully understands the contours of lay versus

opinion testimony from law enforcement officers. The case agents are first hand percipient

witnesses to a number of facts in the investigation and prosecution of this case, including as the

impeachment witness for the many changed stories of the accusers.




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       As evidenced by their recently disclosed interviews, the government lawyers, despite its

protests about the defense's ability to call percipient fact witnesses, have been preparing the case

agents for months to testify in the defense's case. The risk highlighted by the defense it its

footnote is that, even though they are not asked a question that calls for opinion testimony, the

agents are likely to try to offer their opinions either during the defense's questioning or when the

government attempts to rehabilitate them. Because neither side has noticed any opinion

testimony from the case agents, they should be prohibited from offering any, especially because

it will be non-responsive to any questions that should be asked of them.

 IX. THE COURT SHOULD PRECLUDE TESTIMONY ABOUT ANY ALLEGED
     “RAPE” BY JEFFREY EPSTEIN

       The government argues that the expected testimony of                    that she was raped

by Jeffrey Epstein is admissible to show the “ongoing relationships between the defendant,

Epstein, and the victims” and is necessary “to complete the story of the crime on trial.” Resp. at

79-80. The government offers no explanation, however, for why testimony of an alleged rape

would prove the relationship “between the defendant, Epstein, and the victims” when

has never claimed in her prior statements to the FBI or anywhere else that Ms. Maxwell knew of,

facilitated, or participated in the alleged rape in any way. Nor does the government explain why

this testimony is somehow necessary “to complete the story of the crime on trial” when the rape

allegation is an outlier and does not fit the “story” of alleged sexual abuse that the government

has described in the S2 Indictment—namely, “grooming” the alleged victims to gradually break

down their inhibitions so that forcible rape is not required to engage in sexual activity with them.

Because the rape allegation is the only one of its kind and has no connection to the other

incidents of alleged sexual abuse, it should not be admitted as intrinsic proof of the charged

crimes. See United States v. Townsend, No. S1 06 CR. 34 (JFK), 2007 WL 1288597, at *2



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(S.D.N.Y. May 1, 2007) (defendant’s prior narcotics and firearm transactions with the same

confidential informant not “inextricably intertwined” with the charged narcotics conspiracy, even

though the conduct was “generally similar to the conduct underlying the offenses charged in the

indictment”); United States v. Nektalov, 325 F. Supp. 2d 367, 369-70 (S.D.N.Y. 2004) (prior

similar money laundering transactions between defendant and cooperating witness not

“inextricably intertwined” with the charged money laundering offense or “necessary to complete

the story” of the charged conspiracy (emphasis in original)).

       Testimony concerning the alleged rape should also be excluded because the S2

Indictment contains no allegations of rape and such testimony is therefore irrelevant to the

charged crimes. The government dismisses this point arguing that indictments do not need to

include all of the government’s evidence, and the terms “sexual activity” and “commercial sex

act” are broad enough to cover rape. See Resp. at 80. But this misses the point. The rape

allegations are irrelevant to the charges because the charges are based on sexual activity that was

illegal because the alleged victims were under the age of consent. The indictment does not

charge any crimes that are premised on sex acts that involve the use of force, like rape. For

example, Counts Five and Six charge sex trafficking offenses. See S2 Ind. ¶¶ 22-27. But they

do not charge the section of the statute that criminalizes sex trafficking that “was effected by

means of force, threats of force, fraud, or coercion.” 18 U.S.C. § 1591(b)(1). The government is

therefore off base when its states that “evidence of rape, where it occurs … is the core conduct in

the case.” Resp. at 81. It is only the “core conduct” of the case when the indictment alleges

forcible sex acts. Indeed, the cases cited by the government prove this point. See Ex. E,

Indictment, United States v. English, No. 18 Cr. 492 (PGG) (S.D.N.Y. 2020) (defendant charged

with sex trafficking conspiracy “effected by means of force” under 18 U.S.C. § 1591(b)(1));




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United States v. Graham, No. 14 Cr. 500 (NSR), 2015 WL 6161292, at *1 (S.D.N.Y. Oct. 20,

2015) (same).

       Finally, whatever minimal probative value the rape allegation might have would be

substantially outweighed by the danger of unfair prejudice, confusing the issues, and misleading

the jury. Fed. R. Evid. 403. As we previously argued in our initial Motion, rape is highly

emotional and inflammatory, much more so than the “sexualized massages” alleged in the S2

Indictment. See Mot. at 2-3. Admitting testimony of an alleged rape would pose a serious risk

that the “jury will convict for crimes other than those charged—or that, uncertain of guilt, it will

convict anyway because a bad person deserves punishment.” Old Chief v. United States, 519

U.S. 172, 181 (1997) (quoting United States v. Moccia, 681 F.2d 61, 63 (1st Cir. 1982) (Breyer,

J.)) (discussing propensity evidence). Such evidence would also confuse the issues at trial and

mislead the jury. It will cause the jurors to focus on conduct that is not relevant to the charged

offense and suggests that they convict Ms. Maxwell on an improper and highly emotional basis.

See United States v. Stein, 521 F. Supp. 2d 266, 273 (S.D.N.Y. 2007) (excluding other-act

evidence in a conspiracy case under Rule 403 because of the “risk that this evidence would

confuse the issues, cause undue delay, and be used for an improper purpose”). The Court should

therefore preclude any testimony or evidence about an alleged rape.

XII. REFERENCE TO ACCUSERS AS "VICTIMS" IS IMPROPER VOUCHING

       Without explaining its logic, and by way of cases concerning jury instructions, the

government disagrees that use of the term "victim" by witnesses and the prosecution during trial

amounts to improper vouching. Yet, the government offers that the only times it expects the

word will be used at trial are (a) by the prosecutors during their jury addresses, and (b) in Dr.

Rocchio's testimony concerning her patients. Resp. at 77. The government's legal analysis and




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argument are flawed, and the Court should enter the order proposed by Ms. Maxwell that all

parties, witnesses, and the Court should refer to the individuals by their proper names.

       First, overlooking the frequency with which state courts must grapple with fair trials

inherent in sex crimes, the government complains that the defendant cited no federal authority

for the proposition that the Court, witnesses, and parties should use the individuals' names rather

than the word "victim." To remedy that perceived problem, counsel refers the Court to United

States v. Sena, No. 19-CR-01432, 2021 WL 4129247, at *1–2 (D.N.M. Sept. 9, 2021), and the

other cases cited therein:

       "[Defendant] is correct that the term [victim] is prejudicial when the core issue at
       trial is whether a crime has been committed—and, therefore, whether there is a
       victim. See State v. Cortes, 851 A.2d 1230, 1239-40 (Conn. App. Ct. 2004), aff'd,
       885 A.2d 153 (Conn. 2005) (holding that jury charges using the term “victim”
       instead of “alleged victim” violated a defendant's due process right to a fair trial);
       Talkington v. State, 682 S.W.2d 674, 674 (Tex. App. 1984) (use of the term
       “victim” in court's rape charge was reversible error when the issue at trial was
       whether complainant consented to sexual intercourse); People v. Davis, 423
       N.Y.S.2d 229, 230 (N.Y. App. Div. 1979) (“By referring in its charge to the
       complainant as the ‘victim’ and to the defendant as the ‘perpetrator’, the court
       impermissibly insinuated to the jury that the complainant was the victim of injuries
       resulting from acts committed by the defendant.”).

       At [the] upcoming trial, the jury has the responsibility of deciding whether a crime
       occurred and whether that crime resulted in harm to [the accuser]. Thus, to label
       [the accuser] as a victim at the outset of trial carries the risk of improperly
       influencing the jury's decision. Moreover, there is virtually no probative value in
       allowing the government to use the term “victim” to describe [the accuser]. See
       United States v. Ehrens, No. CR-15-200-C, 2015 WL 7758544, at *2 (W.D. Okla.
       Dec. 1, 2015) (considering a similar motion and finding that there was “no need by
       any party to refer to [the alleged victim] by any particular descriptor other than her
       name”). Restricting the use of the term “victim” does not prevent the government
       from describing [the accuser's] injuries, or from presenting any of its other
       evidence. The government and its witnesses remain free to refer to [the accuser] by
       name or by other descriptive terms (e.g., “the mail carrier”).

Id. (emphasis added).

       As argued in the motion, when the government, the Court, or another witness uses the

term "victim" at the outset of the trial, it risks the jury pre-judging the merits, improperly


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speculating that the accusers have already been found credible by someone, or that their decision

is a foregone conclusion. On the other side of the probative-prejudicial scale, the government

simultaneously fails to articulate any probative value in use of the term "victim," either in its jury

address or otherwise. Cf. State v. Wigg, 889 A.2d 233, 236 (Vt. 2005) ("the use of the term

'victim' had no inherent probative value").

       Second, the government improperly suggests in response that the stricture on vouching

should not apply to the witnesses themselves. Resp. at 79. As explained by numerous cases,

having any witness refer to themselves or another witness as a "victim" is the very height of

improper vouching. Sena, supra; State v. Sperou, 365 Or. 121, 131, 442 P.3d 581, 590 (2019)

("another witness’s description of the complaining witness as a 'victim' conveys an opinion that

the complaining witness is telling the truth. That is what the vouching rule is intended to

prevent."); Wigg, supra.

       Finally, the government contends that Dr. Rocchio can use the word "victim" in reference

to "victims of sexual abuse generally," but her use of the term is even more problematic. For the

reasons articulated in our Daubert motion and reply, Dr. Rocchio bases her expertise on her

therapeutic number of individuals who have self-identified as sexual abuse victims, without any

research or investigation as to whether the individuals' self-reports are true. She then intends to

draw from her anecdotal and experiential treatment to generalize about all "victims" without their

ever having been a finding that any of the persons she has provided treatment to were, in fact,

"victims." If she is permitted to testify, there is no reason for her to vouch for the credibility of

her patients, unless she clarifies each time that she is taking the individual at their word that they

were in fact a victim. The danger of confusion to a jury is that anyone treated by Dr. Rochio

must have been a victim. As the Wigg court recognized, there will be a "danger of unfair




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prejudice because the [witness's] choice of language implied that he and the prosecution believed

the complainant's testimony." Id.

       For these and the previously stated reasons, Ms. Maxwell asks the Court to order that the

parties, the witnesses, and the Court use individuals' names in the presence of the jury.

XIII. THE COURT SHOULD PRECLUDE INTRODUCTION OF GOVERNMENT
      EXHIBITS 52, 251, 288, 294, 313, 606 AND THE SEARCH OF EL BRILLO WAY

       A. The Court Should Exclude the Challenged Government Exhibits

       Rule 901(a) of the Federal Rules of Evidence provides that “[t]he requirement

of authentication or identification as a condition precedent to admissibility is satisfied by

evidence sufficient to support a finding that the matter in question is what its proponent

claims.” See also Ricketts v. City of Hartford, 74 F.3d 1397, 1409 (2d Cir.1996); United States v.

Sliker, 751 F.2d 477, 496–500 (2d Cir.1984) (discussing the interaction between

Fed.R.Evid. 104 and 901). “In order for a piece of evidence to be of probative value, there must

be proof that it is what its proponent says it is. The requirement of authentication is thus a

condition precedent to admitting evidence.” United States v. Sliker, 751 F.2d 477, 497 (2d Cir.

1984). A motion in limine to preclude evidence calls on the "[C]ourt to make a preliminary

determination on the admissibility of evidence under Rule 104 of the Federal Rules of

Evidence.” Highland Capital Mgmt., L.P. v. Schneider, 379 F. Supp. 2d 461 (S.D.N.Y. 2005)

(internal quotation marks omitted). “The purpose of a motion in limine is to allow the trial court

to rule in advance of trial on the admissibility and relevance of certain forecasted

evidence.” Dougherty v. County of Suffolk, No. CV 13-6493 (AKT), 2018 WL 1902336, at *1

(E.D.N.Y. Apr. 20, 2018) (internal quotation marks omitted).

       Ms. Maxwell has filed in limine motions challenging the admissibility of discrete items of

evidence that the government intends to offer at trial. As discussed below, the Court should hold



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a pre-trial hearing at which the government must demonstrate that the proposed evidence is both

authentic, admissible, relevant and not unduly prejudicial.

       B. Government Exhibit 52

       Government Exhibit (GX) 52 was acquired by the government as part of a sting operation

from Alfredo Rodriguez. Mr. Rodriquez worked for Jeffrey Epstein for approximately six

months, from late 2004 to early 2005. In 2009, he was deposed and then ultimately arrested in an

undercover sting operation in which the government claims exhibit 52 was seized from Mr.

Rodriguez, apparently on or about November 3, 2009, by one                          , who is not listed

as a testifying witness. No one knows where or when the exhibit was acquired by Mr.

Rodriguez, what he did with it for as long as he had it, who may have created the exhibit, and

where it came from. In its Response, the government does not identify what it claims this exhibit

to be, who might authenticate the exhibit, only that a “witness with personal knowledge of the

physical book is expected to testify to its authenticity.” Resp. at 73. Given that Mr. Rodriguez is

dead, and            is not a witness, we are left to wonder who this foundational witness may

be.

       The government further claims that even if the exhibit is hearsay, it is admissible, not for

the truth of the matter asserted, but to show “the defendant kept contact information for relevant

individuals at trial, including victims.” Id. These are bold, unexplained claims that Ms. Maxwell

disputes. The proffers here are inadequate to meet any burden of admissibility. The government

should not be allowed to refer to the exhibit prior to the establishment of an adequate foundation;

and Ms. Maxwell requests a pretrial evidentiary hearing on this issue.

       C. The Palm Beach Search of El Brillo Way

       Again, the government claims that it will have live witnesses “to establish the

authenticity of the evidence at trial.” It does not identify the witness or the basis of that person's


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       F. Government Exhibit 313

       GX 313 was seized in 2019. It was not seized from Ms. Maxwell. No one will testify

about where it was taken, who took it, or where it was kept. Because the government cannot

establish the location of the photograph, it is not corroborative, as the government claims, of

“topless swimming” at the Palm Beach pool, which is also not relevant to the allegations here.

Ms. Maxwell has not challenged other photographs showing a close relationship between Ms.

Maxell and Epstein, and we expect there to be evidence of their relationship at trial. Accordingly,

any probative value of the evidence is substantially outweighed by the prejudicial impact of the

picture. Again, this exhibit should be excluded under FRE 401, 402, 403, and 404(b).

       G. Government Exhibit 606

       GX 606 comes from an unknown author, created at an unknown time, and for an

unknown purpose. The government’s proffer is speculative and does not supply any evidentiary

foundation, authenticity, or relevance. The exhibit should be excluded under FRE 901, 802, 401,

402, 403, and 404(b). As with the other exhibits discussed herein, Ms. Maxwell requests a

pretrial evidentiary hearing.

       Dated: October 27, 2021




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Respectfully submitted,


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                                     Certificate of Service

     I hereby certify that on October 27, 2021, I electronically filed the foregoing Ghislaine
Maxwell’s Reply In Support of Her Motions In Limine with the Clerk of Court using the
CM/ECF system which will send notification of such filing to the following:

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